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                                              STATES JUDICIAL PANEL
                                                     on
                                          MULTIDISTRICT LITiGATION


       iN RE: AMERICAN MEDICAL COLLECTION AGENCY, INC.,
       CUSTOMER DATA SECURITY BREACH LITIGATION                                               MDL No. 2904


                                                 TRANSFER ORDER


               Before the Panel: This litigation arises out of a data security breach on the systems of
       American Medical Collection Agency (AMCA),t a breach that reportedly compromised patient data
       that various medical diagnostic testing companies had provided to AMCA for billing and collection
       purposes, including Quest Diagnostics, Inc. (Quest), Laboratory Corporation of America Holdings
       (LabCorp), Bio-Reference Laboratories, Inc. (Bio-Refcrence), and others. Quest, LabCorp, and
       Bio-Reference publicly announced the breach in early June 2019, and the putative class actions now
       before the Panel soon followed.

               The Panel is presented with two motions for centralization under 28 U.S.C. § 1407. n one
       motion, plaintiffs in a District of New Jersey action (fernandez) move to centralize ten actions, as
       listed on Schedute A, in the District of New Jersey. They ask that the scope of the proposed MDL
       be limited to Quest actions like those on Schedule A that is, actions arising from the AMCA data
                                                                —




       breach brought on behalf of Qtiest patients against Quest, Optum36O (a Quest contractor),2 and
       AMCA. In their reply brief, they additionally propose a separate MDL in the Socithern District of
       New York for potential tag-along actions involving LabCorp patients. In the other motion, plaintiff
       in a Southern District of New York action (Woithey) moves to centralize the ten actions listed on
       Schedule A, together with all related actions arising out of the AMCA data breach (including actions
       against LabCorp, Bio-Refcrence, and other laboratories) in a single multi-defendant MDL
       in the Southern District of New York. Since the filing of the two motions, the Panel has been
       notified of 32 potential tag-along actions,3 which involve putative class claims against LabCorp,




                     Judge Nathaniel M. Gorton did not participate in the decision of this matter.

                     AMCA is the trade name for Retrieval-Masters Creditors Bureau, Inc.

                Optum36O refers to Opturn 360, LLC, and Optum36O Services, Inc., together, which are
                 2

       both defendants in this litigation.

                These and any other related actions are potential tag-along actions. See Panel Rules I 1(h).
                                                                                                      .




       7.1 and 7.2.
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  Quest, Optum36O, Bio—Reference, and AMCA, singly or in combination.4

          All responding parties support centralization but disagree on the structure of the proposed
  MDL proceedings (two or more laboratory-specific MDLs or a single omnibus MDL) and the
  proposed transferee districts. Defendants Quest, Opturn36O, LabCorp, and B b-Reference
  unanimously support centralization of all actions in a single multi-defendant MDL in the District of
  New Jersey or, alternatively, the Southern District of New York.5 Plaintiffs in nine actions also
  support a single multi-defendant MDL, and variously propose the Southern District of New York,
  the Central District of California, and the District of Mim7esota as their first or second choice for
  transferee district. Plaintiffs in fourteen actions support creation of one or more laboratory-specific
  MDLs a Quest MDL in the District ofNew Jersey; a LabCorp MDL in the Middle District of North
         —




  Carolina or the Southern District of New York; and, should the need arise, additional MDLs for
  other laboratories impacted by the AMCA data breach.

          We find that common factual questions in all actions unquestionably arise from the same
  recently-disclosed breach of AMCA’s systems from August 201$ through March 2019, through
  which an unauthorized user allegedly gained access to patients’ personal and financial information,
  including social security numbers and credit card and bank account information, and patients’
  medical information. Thus, discovery and motions concerning AMCA’s data security practices,
  how the unacithorized access occurred, and the investigation into the breach will be substantially the
  same in all actions.

          The only issue is whether creation of a single multi-defendant MDL or laboratory-specific
  MDLs will achieve greater efficiencies. The plaintiffs supporting creation of laboratory-specific
  MDLs argue that separate MDLs are warranted principally becacise (1) each laboratory’s practices
  and procedures for the storage and sharing of patient data will raise unique factual issues; (2) each
  laboratory had a distinct contractual relationship with AMCA; (3) the laboratory detndants arc
  direct competitors and, thus, will need to protect against the disclosure of confidential information;
  and (4) the common factual issues surrounding AMCA’s conduct will be minor because AMCA is
  in bankruptcy and likely will not participate in the litigation.

           In response, the parties supporting a single multi-defendant MDL argue that (I ) the central
  factual issues in all actions, regardless of the named defendants, concern the same data breach on
  AMCA’s systems and, in particular, AMCA’s data security practices and the cause of the breach;
  (2) the actions propose overlapping nationwide and statewide classes, and several actions propose
  a class of all patients affected by the AMCA data breach without limitation as to the laboratory used;
  (3) as a result, centralization is necessary to avoid duplicative discovery and class certification


            Of these, nine are actions against LabCorp; fourteen are actions against Quest and
  Optum36O; and nine involve two or more laboratory defendants (LabCorp. Quest, and’or
  Bio-Reference).

             AMCA did not file a response to the motions for centralization.
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  proceedings, as well as inconsistent pretrial rulings; and (4) concerns about protection of confidential
  proprietary information in a multi-defendant MDL likely are overstated, given that all defendants
  support a single MDL, and in any event, appropriate protective orders can address such concerns.
  They also note that a number of complaints are not amenable to separation into laboratory-specific
  MDLs, as they plead claims against multiple laboratory defendants.

          In our judgment, a single MDL encompassing Quest, LabCorp, Bio-Reference, and
  potentially other laboratories is necessary to ensure the just and efficient conduct of this litigation.
  In many situations, we are hesitant to bring together actions involving competing defendants, but
  when, as here, the actions stem from the same data breach, and there is significant overlap in the
  central factual issues, parties, proposed classes, and claims, we find that creation of a single MDL
  is warranted. A single, multi-defendant MDL also will facilitate more efficient coordination with
  the AMCA bankruptcy proceeding, in which the parties’ anticipated discovery of AMCA likely
  would take place.6        Although the advocates of separate MDLs have identified certain
  laboratory-specific  issues,  Section 1407 does not require a complete identity of common factual
  issues or parties as a prerequisite to transfer, and the presence of additional facts is not significant
  where the actions arise from a common factual core.7 We are confident that the transferee judge can
  accommodate any issues involving the different laboratories in a manner that ensures the just and
  efficient resolution of all cases.

           On the basis of the papers filed and the hearing session held, we find that the actions listed
  on Schedule A involve common questions of fact and that centralization will serve the convenience
  of the parties and witnesses and promote the just and efficient conduct of this litigation. All of the
  actions present common factual questions concerning an alleged data breach of AMCA’s systems
  from about August 2018 through March 2019, that allegedly compromised patient data provided to
  AMCA by Quest, LabCorp, Bio-Reference, and other medical testing laboratories. The common
  factctal questions include: (I) AMCA’s data security practices and whether they met industry
  standards; (2) how the unauthorized access occurred; (3) when defendants knew or should have
  known of the breach; (4) the investigation into the breach; and (5) the alleged delay in disclosure of
  the breach by all defendants. Thus, although the actions on Schedule A are on behalf of Quest
  patients, we have determined that the centralized proceedings should include the potential tag-along
  actions against LabCorp and Bio-Refcrence, and potentially actions against other laboratories




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            The contention that issues pertaining to AMCA will be insignificant is not supported by
  the record, which indicates that, at a minimum, an undetermined number ofAMCA depositions and
  information about its computers will be sought. Indeed, the record reflects that defendants and state
  attorneys general conducting investigations into the AMCA data breach already have sought
  production of information from AMCA in the bankruptcy case.

              See In re: Auto Body Shop Ant lurtist Litig., 37 F. Supp. 3d 1388, 1390 (J.P.M.L. 2014).
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  impacted by the AMCA data breach.8 Centralization will eliminate duplicative discovery; prevent
  inconsistent pretrial rulings, including with respect to class certification; and conserve the resources
  of the parties, their counsel, and the judiciary.

          We conclude that the District of New Jersey is an appropriate transferee district. All
  defendants and plaintiffs in over a dozen actions support this district, where four actions on the
  motion and seven potential tag-along actions are pending. Defendants Quest and Bio-Reference
  have their headquarters there, and AMCA is located nearby in Elmsford, New York.9 Thus, common
  documents and witnesses likely will be located in or near this district. Judge Madeline Cox Arleo,
  who presides over six of the pending actions, is an experienced transfercejudge with the ability and
  willingness to manage this litigation efficiently. We are confident she will steer this matter on a
  prudent course.

          IT IS THEREFORE ORDERED that the actions listed on Schedule A and pending outside
  the District of New Jersey are transferred to the District of New Jersey and, with the consent of that
  court, assigned to the Honorable Madeline Cox Arleo for coordinated or consolidated pretrial
  proceedings.




                                              PANEL ON MULTIDISTRICT LITIGATION




                                                            ,           /6it
                                                               Sarah S. Vance
                                                                    Chair

                                          Lewis A. Kaplan                 Ellen Segal Huvelle
                                          R. David Proctor                Catherine D. Perry
                                          Karen K. CaIdwell




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           We intend to transfer these actions through the conditional transfer order process. See
  Panel Rule 7.1(b).

             Several plaintiffs requested the Southern District of New York as transferee district to
  enscirc coordination with the AMCA bankruptcy case in that district. But “the transferee judge and
  the bankruptcyjudge need not sit in the same district to be able to coordinate informally” on matters
  arising in the MDL that implicate the bankruptcy proceeding. See In re Tcikcita Airhag Prods. Liab.
  Litig., 84 F. Supp. 3d 1371, 1373 n.4 (J.P.M.L. 2015)
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  IN RE: AMERICAN MEDICAL. COLLECTION AGENCY, INC.,
  CUSTOMER DATA SECURITY BREACH LITEGATION                          MDL No. 2904


                                        SCKEDULE A


              Central District of California

        MAYER v. QUEST DIAGNOSTICS, INC., FT AL., C.A. No. 5:19-01029
        MARLER v. QUEST DIAGNOSTICS, INC., ET AL., C.A. No. 8:19-01091

              Northern District of California

        GRAUBERGER v. QUEST DIAGNOSTICS INCORPORATED, FT AL.,
            C.A. No. 3:19—03 102

              District of New Jersey

        VIEYRA v. QUEST DIAGNOSTICS, INC., ET AL., C.A. No. 2:19-13396
        FERNANDEZ v. AMERICAN MEDICAL COLLECTION AGENCY, INC., ET AL.,
              CA. No. 2:19—13398
        JULIN v. QUEST DIAGNOSTICS INCORPORATED, ET AL., CA. No. 2:19-13446
        CARBONNEAU v. QUEST DIAGNOSTICS INCORPORATED, ET AL.,
              C.A. No. 2:19—13472

              Southern District of New York

        WORTHEY v. AMERICAN MEDICAL COLLECTION AGENCY, INC.. ET AL.,
             CA. No. 7:19—05210
        GUTIERREZ v. AMERICAN MEDICAL COLLECTION AGENCY, INC., ET AL.,
             C.A. No. 7:19—05212
        LANOUETTE, FT AL. v. RETRIEVAL- MASTERS CREDITORS BUREAU, INC.,
             ET AL., C.A. No. 7:19— 05216
